Case 1:21-cr-00575-JDB Document154_ Filed 08/15/24 Pagelof1

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July 30, 2024 the deCendonr 40 rehicrn
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The Honorable Judge John D. Bates Ad DI OI —

US District Court .
3" and Constitution Avenue Wc? 724
Washington, DC 20001

RE: Case Number: 121-CR-575-(1)-JDB
Hearing Date: 10/12/2022 (sentencing hearing)

Dear Honorable Judge John D Bates,

| am writing to you again after my search for my passport brought me back to your court. | spoke to the Clerk
of the Court’s office in Washington DC today and they confirmed that they do, in fact, have my passport in
their possession. It was forwarded to the court on June 28, 2021, by the US Middle District Court in Orlando,
FL.

The clerk’s office advised that |! need to contact you again to ask that you issue a court order to release the
passport to me. Per my letter to you of April 29, 2024, at the request of my probation officer, Rita Ramos, you

graciously contacted her office to say that you agreed that | could obtain my passport.

Ms. Ramos and | contacted the Department of State and sent them the forms they requested only to be told
this week that they don’t have my passport. My search then leads me back to the court in Washington DC.

Would you please issue a court order and add it to the docket directing that my passport (Number 557690173)
be returned to me at the address above? | greatly appreciate your time and effort on my behalf.

Feel free to contact me with any questions or concerns you may have.
Thank you for your consideration.

Sincerely,

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David John Lesperance
